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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 _________________________________
 JESSICA DURKIN, both Individually and as :
 Administratrix of the Estate and as                    Hon. Joseph H. Rodriguez
 Administratrix Ad Prosequendum of the    :
 ESTATE OF WILLIAM R. GANGELL, JR.,                     Civil Action No. 10-2013
                                          :
              Plaintiffs,
      v.                                  :                    ORDER

 PACCAR, INC. and                                :
 PETERBILT MOTORS COMPANY and
 WABASH NATIONAL CORPORATION and                 :
 SPANSET, INC. and
 ANCRA INTERNATIONAL, LLC. and                   :
 DURA-BOND INDUSTRIES, INC. and
 DURA-BOND COATING, INC. and                     :
 DURA-BOND DEVELOPMENT, INC. and
 DURA-BOND STEEL CORP. and                       :
 DURA-BOND PIPE, LLC.,
                                  :
          Defendants.
 _________________________________

       This matter having come before the Court on motion of Defendants PACCAR, Inc.

 and Peterbilt Motors Company (“PACCAR Defendants”) to dismiss all punitive damages

 claims against the PACCAR Defendants [Dkt. Entry No. 6] and on motion of Defendants

 Dura-Bond Industries, Inc., Dura-Bond Coating, Inc., Dura-Bond Development, Inc.,

 Dura-Bond Steel, Corp., and Dura-Bond Pipe, LLC. (“Dura-Bond Defendants”) to

 dismiss all claims against the Dura-Bond Defendants pursuant to Fed. R. Civ. P. 12(b)(6)

 [Dkt. Entry No. 8]; and the Court having considered the written submissions of the

 parties; and the Court having heard oral argument on the motions on September 20,

 2010; and Plaintiff having agreed at oral argument to withdraw without prejudice all

 punitive damages claims against all defendants; and for the reasons set forth in the

 accompanying Opinion issued on even date,
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      IT IS on this 19th day of October, 2010 hereby

      ORDERED that the PACCAR Defendants’ motion [Dkt. Entry No. 6] is

 GRANTED; and

      IT IS FURTHER ORDERED the Dura-Bond Defendants’ motion [Dkt. Entry No.

 8] is GRANTED.


                                         /s/ Joseph H. Rodriguez
                                        Hon. Joseph H. Rodriguez,
                                        United States District Judge
